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                        DISCOVERY PLAN WORKSHEET

                               Phase I (Pre-Settlement Discovery)

                                                                          April 29, 2019
 Deadline for completion of Rule 26(a) initial disclosures and any
 HIPAA-complaint records authorizations:

 Completion date for Phase I Discovery as agreed upon by the parties:
 (Reciprocal and agreed upon document production and other discovery      June 10, 2019
 necessary for a reasoned consideration of settlement. Presumptively 60
 days after Initial Conference.)

 Date for initial settlement conference:
 (Parties should propose a date approximately 10-15 days after the          July 25, 2019
 completion of Phase I Discovery, subject to the Court’s availability)

                               Phase II (Discovery and Motion Practice)

                                                                          July 22, 2019
 Motion to join new parties or amend the pleadings:
 (Presumptively 15 days post initial settlement conference)

 First requests for production of documents and for interrogatories due   August 7, 2019
 by:
 (Presumptively 15 days post joining/amending)

 All fact discovery completed by:                                         November 21, 2019
 (Presumptively 3.5 months post first requests for
 documents/interrogatories)
                                                                          December 6, 2019
 Exchange of expert reports completed by:
 (Presumptively 30 days post fact discovery)
                                                                          December 27, 2019
 Expert depositions completed by:
 (Presumptively 30 days post expert reports)
                                                                          January 10, 2020
 COMPLETION OF ALL DISCOVERY BY:
 (Presumptively 9 months after Initial Conference)

 Final date to take first step in dispositive motion practice:
 (Parties are directed to consult the District Judge’s Individual Rules   February 10, 2020
 regarding such motion practice. Presumptively 30 days post completion of
 all discovery)

 Do the parties wish to be referred to the EDNY’s mediation program
                                                                          Not at this time
 pursuant to Local Rule 83.8?
